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UNITED STATES DISTRICT COURT

 

DISTRICT oF CONNECTICUT
SUSAN BARBER-EDWARDS f/k/a sUsAN )
EDWARDS ) CIVIL AcTioN
Plaintiff )
) CoMPLAINT
v-_ )
)
Nco FINANCIAL sYsTEMS, INC. )
nerendam ) JUNE 5 2009
)

 

C{)MPLAINT
I. INTRODUCTION

l. This is a suit brought by a consumer Wlio has been harassed and abused by Defendant
collection agency. This action is for violations of the Fair Debt Collection Practices Act
(“FDCPA”), 15 U.S.C. § 1692 et seq.

II. PARTIES

2. The plaintiff, Susan Bar‘oer~EdWards f/k/a Susan Edwards, is a natural person residing
in Bloomtield, Connecticut and is a consumer as defined by the Fair Debt Collection Practices
Act (“FDCPA”) 15 U.S.C. §1692a(3).

3. The defendant, NCO Financial Systerns, lnc. (“NCO”), is a Pennsylvania Corporation
headquartered in Horsham Pennsylvania licensed by the Connecticut Department of Banking as a
Consumer Collection Agency and is a debt collector as defined by FDCPA § 1692a(6).

III. JURISDICTION
4. lurisdiction in this Court is proper pursuant to l5 U.S.C. § l692k(d), 28 U.S.C. §§

1331, and 1337, and Fed. R. Civ. P. lS(a).

 

 

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5. Tnis Court has jurisdiction over NCO because it engages in debt collection Within
Connecticut.

6. Venue in this Court is proper, as the Plaintiff is a resident and the acts complained of
occurred in this state.

IV. FACTUAL ALLEGATIONS

7. On Decernber 24, 2008, NCO contacted Plaintiff in an attempt to collect a debt.

8. During this call NCO stated that Plaintifl’ s Wages Would be garnished unless she
committed to a payment plan.

9. Plaintiff, believing she had no choice, agreed to the plan suggested by NCO.

lO. On January 2, 2009, Plaintiff Wrote a letter to the Department of Education (ED)
requesting a hearing for full or partial forgiveness ot` the debt and to avoid an administrative
Wage garnishment

ll. On lanuary 23, 2009, NCO sent a rehabilitation agreement (“Agreement”).

12. The Agreement stated it Was to rehabilitate Plaintifl’ s “Federal Family Education
Loans (FFEL)”

13. Plaintifi’ s debt Was not a FFEL loan but Was actually a Perl<ins loan.

14. The Agreernent also made several references that her loan Would be sold to a new
lender in order to complete rehabilitation

l5. Perl<ins loans are owned by the Departrnent ofEducation and a sale of the loan is not
permitted nor required to complete rehabilitation

16. Plaintifr` signed the agreement on February 4, 2009, relying on NCO’s representations
that it Would stop any Wage garnishment

17. Ylaintiff returned the signed Agreement shortly after signing it.

 

 

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lS. Plaintift` made payments as required by the contract

19. On February 25, 2009, NCO sent a letter to PIaintifi” s fenner bankruptcy attorney
Stating that it was attempting to contact the Plaintiff but had been unsuccessful.

20. On February 26, 2009, NCO sent a letter to Plaintiff’s former bankruptcy attorney
regarding Plaintift’ s request for a hearing

21. The letter stated that a decision would be delayed for fifteen (15) days from the date
of the letter, to allow time for Plaintiff to provide evidence of her financial situation.

22. Eley'en (l l) days later, on lviarch 9, 2009, ED issued a Garnishment l-learing
Decision.

23. One reason for finding that Plaintiff should not be excused from an administrative
wage garnishment, as stated in the Decision was, “Our records indicate that although you have
negotiated a repayment arrangement, you have not returned a signed repayment agreement.”

24. On March lO, 2009, before Plaintiff was aware of the Decision, Plaintiff received
NCO’s letters dated Febmary 25 and 26 after they were forwarded to her by her former
bankruptcy attomey.

25. Plaintift` immediately contacted NCO to alert them that She had the requested
documents and would send them that day.

26. NCO then told Plaintiff that a decision had been made and not to bother Sending the
information requested

27. On March 26, 2009, ED Sent a Wage Garnishrnent order to the payroll department of
Plaintift" s employer.

28. On April 3, 2009, Plaintit`f contacted NCO to continue her dispute against the wage

garnishment order.

 

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29. NCO refused to talk with Plaintiff, stating she was represented by counsel, even
though Plaintiff stated she was not represented by counsel in connection With the obligation

30. On April 9, 2009, NCO sent a letter identical to NCO’s letter dated Decembcr 24,
2009, implying that the debt was only recently placed with NCO for collections

31. On April 29, 2009, Plaintiff received an undated letter from NCO, which contained a

 

new rehabilitation agreement meant for Perl<ins Loans.

32. The new agreement stated that “12 consecutive monthly payments” were required

33. T`ne number of required payments to qualify for a Perkins loan rehabilitation, as
stated in 20 U.S.C. § 1087dd(h)(l)(A), was modified by Pub. L. No. 110-315 §464(h) which
took effect on August l4, 2008. The number of payments required was reduced to nine (9).

V. CLAIMS FOR RELIEF
CAUSE OF ACTI()N
Violations of F air Debt Collection Practices Act, 15 U.S.C. §§ 1692 §t__sgg;
34. Paragraphs l-33 are herein incorporated.
35. NCO violated FDCPA §1692d, e, and f by:
a. Coercing Plaintiff into a rehabilitation agreement on reliance that wage

garnishment would not occur;

b. Failing to give notice to ED that Plaintiff had signed a repayment agreement

 

which should have ceased the Wage Gamishment Order from being issued;
c. Sending notices to an attomey,
i. When Plaintiff never stated she was represented during any prior
communications between Plaintiff and NCO;

ii. When NCO had no reason to believe that Plaintiff was represented; and,

 

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iii. When such action caused significant delay in Plaintiff s response to the
Wage Garnishment Hearing to her detriment;
d. Telling Plaintiff not to send in supporting evidence even though she was within
the applicable time period to do so and the Order was issued prematurely
e. Refusing to talk to Plaintiff because NCO believed she was represented by an
attorney, even after Plaintiff plainly stated she was not represented;
f. Misstating the number of required payments needed to rehabilitate a Perkins loan;
g. Failing to adequately educate Plaintiff about the rehabilitation process; and,
h. Sending a rehabilitation agreement for FFEL loans with terms that were in no way
applicable to Plaintifl` s terms
36. For NCO’s violations of the Pair Debt Collection Practices Act as described above,
the Plaintiff is entitled to recover her actual damages (including emotional distress), statutory
damages of $l,GO0.00, and reasonable attorney’s fees, pursuant to 15 U.S.C. § 1692l<.
WHEREFORE, the Plaintiff seeks recovery of monetary damages pursuant to l5 U.S.C.

§ 16921<; statutory damages pursuant to 15 U.S.C. § l692l<; attorney’s fees and costs pursuant to

15 U.S.C. § 1692k; and such other relief as this Court deems appropriate

PLAINTIFF, SUSAN EDWARDS

        

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